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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA


DAVID POSCHMANN,

      Plaintiff,

v.                                              Case No. 8:21-cv-01918-KKM-AAS

WHITE SANDS BEACH RESORT, INC.,

      Defendant.
                                            /

                      JOINT NOTICE OF SETTLEMENT

      Plaintiff, David Poschmann, (“Plaintiff”) and Defendant, White Sands Beach

Resort, Inc., (“Defendant”) by and through their undersigned counsel, respectfully

hereby file this Notice of Settlement and advise the Court that the Parties have

fully resolved this dispute and are in the process of preparing and finalizing the

necessary documents for final disposition of this matter.



      Dated this 13th day of September, 2021.
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                                        Respectfully submitted,

 /s/ Jesse I. Unruh                      By: Drew M. Levitt
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                                         Lsarking@aol.com


 Attorney for Defendant                  Attorneys for Plaintiff



                          CERTIFICATE OF SERVICE

      I hereby Certify that on this 13th day of September, 2021, the foregoing was

electronically filed with the Court by using the CM/ECF portal, which will send a

notice of electronic filing to all counsel of record.


                                               /s/ Jesse I. Unruh
                                               Attorney


                                               Respectfully submitted,

                                               SPIRE LAW, LLC
                                               2572 W. State Road 426, Suite 2088
                                               Oviedo, Florida 32765


                                               By:      /s/ Jesse I. Unruh
                                                        Jesse I. Unruh, Esq.

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